UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

‘THE HONORABLE OTTO J. REICH, and
OTTO REICH ASSOCIATES, LLC, Civ. No. 13 CV 5307 (JPO)
ECF CASE

Plaintiffs,
NOTICE OF SETTLEMENT WITH
v. CORRECTED PROPOSED JUDGMENT
LEOPOLDO ALEJANDRO BETANCOURT

LOPEZ, et ai.,

Defendants,

a ee

 

PLEASE TAKE NOTICE that a final judgment of which the within is a copy will be
presented to the Honorable J. Paul Oetken, Judge of the United States District Court for the
Southern District of New York, at the United States Courthouse, 40 Foley Square, New York,
New York, on the 25th day of January, 2016.

New York, New York
January 18, 2016

 

 

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FOR THE SOUTHERN DISTRICT OF NEW YORK

 

LEOPOLDO ALEJANDRO BETANCOURT
LOPEZ, et al.,

Defendants.

)
THE HONORABLE OTTO J. REICH, and }
OTTO REICH ASSOCIATES, LLC, ) Civ. No. 13 CV 5307 (IPO)
) ECF CASE
Plaintiffs, )
)
Vv. )
) JUDGMENT
)
)
)
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)

 

WHEREAS, on February 28, 2014, defendants moved to dismiss Plaintiffs’ First
Amended Complaint pursuant to Fed. R. Civ. P. 12(b)(6), and defendants Leopoldo Alejandro
Betancourt Lopez (“Betancourt”) and Pedro Jose Trebbau Lopez (““Trebbau”) moved to dismiss
Plaintiffs’ First Amended Complaint pursuant to Fed. R. Civ. P. 12(b)(2);

WHEREAS, the matter having come before the Honorable J. Paul Oetken, United States
District Court Judge, and on August 18, 2014, the Court rendered its Opinion and Order granting
defendants’ motion to dismiss Plaintiffs’ RICO and conspiracy claims, denying defendant
Betancourt’s and Trebbau’s motions to dismiss for lack of personal jurisdiction, and granting
Plaintiffs’ request to take jurisdictional discovery of defendants Betancourt and Trebbau;

WHEREAS, on September 2, 2014, Plaintiffs filed a motion for partial reconsideration
or, in the alternative, for certification for interlocutory appeal pursuant to 28 U.S.C. § 1292(b) of
the Court’s August 18, 2014 Opinion and Order;

WHEREAS, the matter having come before the Honorable J. Paul Oetken, United States
District Court Judge, and on April 13, 2015, the Court rendered its Opinion and Order denying
Plaintiffs’ motion for partial reconsideration or, in the alternative, for certification for
interlocutory appeal of the Court’s August 18, 2014 Opinion and Order;

WHEREAS, on December 23, 2014, defendants Betancourt and Trebbau filed renewed
motions to dismiss Plaintiffs’ First Amended Complaint for lack of personal jurisdiction pursuant
to Fed. R. Civ. P. 12(b)(2);

WHEREAS, the matter having come before the Honorable J. Paul Oetken, United States
District Court Judge, and on April 30, 2015, the Court rendered its Opinion and Order granting
defendants’ motions and dismissing the action as against defendants Betancourt and Trebbau
pursuant to Fed. R. Civ. P. 12(b)(2);
WHEREAS, on May 14, 2015, Plaintiffs filed a motion for reconsideration or, in the
alternative, for certification for interlocutory appeal pursuant to 28 U.S.C. § 1292(b) of the
Court’s April 30, 2015 Opinion and Order,

WHEREAS, the matter having come before the Honorable J. Paul Oetken, United States
District Court Judge, and on August 5, 2015, the Court rendered its Order denying Plaintiffs’
motion for reconsideration or, in the alternative, for certification for interlocutory appeal of the
Court’s April 30, 2015 Opinion and Order;

WHEREAS, on April 27, 2015, Plaintiffs filed a motion pursuant to Fed. R. Civ. P.
15(a)(2) for leave to file a Second Amended Complaint for the purpose of addressing the alleged
deficiencies in Plaintiffs’ RICO claims that were identified by the Court in its August 18, 2014
Opinion and Order and its April 13, 2015 Opinion and Order;

WHEREAS, the matter having come before the Honorable J. Paul Oetken, United States
District Court Judge, and on October 9, 2015, the Court rendered its Order denying Plaintiffs’
motion for leave to file a Second Amended Complaint; and

WHEREAS, the Court, on January 4, 2016 so ordered a Stipulation and Order of
Dismissal, which was entered on the docket on January 5, 2016; it is

ORDERED, ADJUDGED AND DECREED: that for the reasons stated, infer alia, in the
Court’s Opinions and Orders dated August 18, 2014, April 13, 2015 and April 30, 2015, its
Orders dated August 5, 2015 and October 9, 2015, and the Stipulation and Order of Dismissal so
ordered on January 4, 2016, the case is closed.

Dated: New York, New York
January 18, 2016

BY:
